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James Garretson (00:01):
Hello?

Paul Malagerio (00:02):
Hey, can you talk?

James Garretson (00:03):
Yeah. What's up?

Paul Malagerio (00:05):
Jeff Johnson says he got the list at jury selection.

James Garretson (00:10):
Yeah, I told you that.

Paul Malagerio (00:12):
You said at the grand jury.

James Garretson (00:14):
Oh, I meant jury selection.

Paul Malagerio (00:16):
Okay. Oh yeah. Cause I remember I told you that was months and months and months ago, like
September, August, whatever.

James Garretson (00:21):
Yeah.

Paul Malagerio (00:21):
So when they made the comment about...You there?

James Garretson (00:29):
Yeah. I'm here.

Paul Malagerio (00:30):
When that [inaudible 00:00:32] made the comment about illegal immigrants or something, Jeff Johnson
said he's got a feeling that a lot of people got a deal, get out of free card to get Joe. He calls it a total
witch hunt.

James Garretson (00:43):
Oh. But the whole page was set up to expose Joe.

Paul Malagerio (00:52):


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Yeah. OK. I mean, I'm kind of hot. I'm mad at him. Cause I forgot about that 72 hour thing. So one day
this week, probably before you go up to testify, I'm going to post on that page and I'm going to shit on
him big time with what he's doing to his family, with his...Okay, does a cop not know he had a 72 hour
fucking mental illness hold over, he's probably on medication, he's driving around with a fucking Glock?

James Garretson (01:16):
Yeah, and the thing is he'll freak out because...You know why he'll freak out? Because he doesn't know I
know that. And I was told that by a fucking cop. Just don't shit on Matt for that. But he's the one that
told me.

Paul Malagerio (01:33):
Wait a minute, wait a minute. You and I discussed, this. Did I learn this on his page? Where he was-

James Garretson (01:37):
No. I told you, because Matt told me in confidence.

Paul Malagerio (01:42):
Oh, okay.

James Garretson (01:45):
Nobody knows about that padded room shit.

Paul Malagerio (01:49):
Except you and Matt. Okay. So Matt told you, but he...Does Sheriff Rhodes fucking know?

James Garretson (01:58):
You know, I don't know. Norman PD told Matt.

Paul Malagerio (02:02):
Oh, so is it public knowledge?

James Garretson (02:04):
No.

Paul Malagerio (02:04):
Someone else...How can they not know?

James Garretson (02:07):
I mean, it's not public knowledge. He was arrested. I mean, it's psychiatric. You can't post anything
about anybody's medical health. There's the laws over here called HIPAA, and you violate them and
you're in deep shit.

Paul Malagerio (02:20):



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That was when the house burned down, wasn't it?

James Garretson (02:23):
Yes.

Paul Malagerio (02:24):
Oh, he was freaking out. He was going to kill...Who was he going to kill that case?

James Garretson (02:28):
Well, John Finlay told him that Jeff Lowe burned his house down. Remember? John Finlay called him and
told him, "Hey, Jeff Lowe burned your house down," because Joe told Finlay to call him.

Paul Malagerio (02:44):
From jail.

James Garretson (02:47):
Yeah.

Paul Malagerio (02:48):
So is there any charges for that? Probably not.

James Garretson (02:52):
I don't know.

Paul Malagerio (02:54):
So he freaked out.

James Garretson (02:55):
Yeah, I was told they can't use the arson for hire either. Oh today when [inaudible 00:03:00] we were
doing that, and I said, "What about the tape where [inaudible 00:03:04]?" They were like, "We got to
take that out." I still have it. But they said since they didn't charge him with it and it was just an
allegation, so they couldn't admit it into the record.

Paul Malagerio (03:13):
And that's Joe trying to hire someone-

James Garretson (03:15):
Me, to burn down [inaudible 00:03:18] house.

Paul Malagerio (03:22):
Well you can play that for [inaudible 00:03:24] one day and then she has to realize she owes you a favor.
So maybe she can shut the fuck up.



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James Garretson (03:28):
Oh, fuck her. I ain't worried about her. I ain't worried about any of those animal people. I basically, I'm
done with all animal people. I mean, I'll talk to Doug, I'll talk to Marcus, but that's the only two animal
people I'm talking to. I've already blocked [inaudible 00:03:44] out of my phone too.

Paul Malagerio (03:46):
There's no loss. You should have done that last year.

James Garretson (03:47):
I should have done it months ago because that son of a bitch called me, he was like, "Hey, do you think
you can get so and so to bring her elephant down to do my little fundraise jungle jam or whatever."

Paul Malagerio (03:59):
Well, you know [crosstalk 00:04:00]

James Garretson (04:00):
I said "you got some of that money I loaned you?" "Oh, no, my truck's in the shop." "I don't even want to
fucking hear it. Yes or no?"

Paul Malagerio (04:11):
Yeah. Well you should have played him for..."Send me a deposit. I'll guarantee it'll be there." Do you
think you would've got that? Do you think you would've got that?

James Garretson (04:22):
No, I doubt it. This son of a bitch ain't going to pay for nothing. He's a fucking dick wad.

Paul Malagerio (04:25):
Fuck him. Okay.

James Garretson (04:26):
...Doing any animal dick wads, and that [inaudible 00:04:29], she can suck a dick too, whoever she is.

Paul Malagerio (04:32):
Yeah. I'm burning about that comment. So I deleted her off my little private-

James Garretson (04:36):
Who cares if they call you an illegal immigrant anyway?

Paul Malagerio (04:39):
Well-

James Garretson (04:39):
Who the fuck cares?


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Paul Malagerio (04:41):
...Tom Porter has said it probably wasn't directed at me, but I'm the only person that-

James Garretson (04:44):
It was directed at you.

Paul Malagerio (04:46):
Yeah. Did you read it?

James Garretson (04:47):
No, I can't see it. I only see it if somebody sends me screenshots, but yeah.

Paul Malagerio (04:54):
Yeah, so that's-

James Garretson (04:54):
That's the best thing I did is get off that GWS site and not follow it.

Paul Malagerio (05:03):
Well, let's...Because there's a timeframe on kicking these people in the balls.

James Garretson (05:10):
Yeah, I just want to do everything after I get out of court Wednesday.

Paul Malagerio (05:15):
Yeah, that's fine.

James Garretson (05:16):
Because then I can always say, I could pick up the phone and at least say, "Hey, I did would y'all guys
asked me, I never fucking posted." Cause they were like, "Please don't talk to [inaudible 00:05:28] until
after trial." They're the ones that tipped me off that he was fucking with pro Joe.

Paul Malagerio (05:33):
So you didn't know that since today?

James Garretson (05:33):
I didn't know that until he told me when she fucking rolled her eyes.

Paul Malagerio (05:38):
Fuck, I'm going over the tape of him. And I talked about carrying a gun as, "Oh, can you show us your
gun?" So I pulled out my .45, I said, "There's my gun. That's not for killing cats. That's for protecting
animals." And now that's all going to Joe. Fuck. I'm trying to think, like that kind of came from left field.
I'm trying to guess ahead of what else? Hello?


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James Garretson (06:07):
Yeah. I was just talking to Justin. We got a bad storm coming.

Paul Malagerio (06:11):
That all kind of came from left field. I just wonder what else they didn't tell you today that you maybe
need to know.

James Garretson (06:19):
They did tell me that I was the only witness in the group that actually listened to them.

Paul Malagerio (06:27):
What do you mean?

James Garretson (06:30):
I'm the only one that didn't go on social media and ruin their case.

Paul Malagerio (06:32):
Oh.

James Garretson (06:35):
They were like, "Hey, thank you for not shitting on us."

Paul Malagerio (06:39):
Well, who else? Okay. John Finlay, John Rinke. They don't talk, they're not on social media.

James Garretson (06:45):
They talk to others. Hang on one second. Give me one second. They talk to others because Joe's got
everybody infiltrated. So I'm sure there's something going on.

Paul Malagerio (06:59):
Okay.

James Garretson (07:01):
I don't know.

Paul Malagerio (07:01):
End of the end of this week, that's over with. He's gone the week after that, we get back to doing some
shit. Just fucking done. Forget about these people.

James Garretson (07:11):
That's the best thing to do. Just forget about all the animal people, because you can't fucking deal with
them because they're just so fucking crazy.



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Paul Malagerio (07:21):
So this adds to the plan of what we discussed about who we're going to align ourselves with just to
survive because you know you can't trust them, but you're stupid if you think you can trust anybody in
the animal industry, they're all fucking backstabbing bitches.

Paul Malagerio (07:41):
Hello?

James Garretson (07:41):
Yeah. I'm here. I can hear you. I was telling you it keeps cutting out.

Paul Malagerio (07:45):
Yeah. It just burped out. So I mean, there's a pretty good chance we'll have cubs in April?

James Garretson (07:52):
Yes. Hundred percent.

Paul Malagerio (07:54):
Good.

James Garretson (07:54):
Yes.

Paul Malagerio (07:55):
And then May, do our thing. So I guess the plan is now, are you going to be able to have a face to face
with Baskin?

James Garretson (08:03):
Yes. I talked to Howard and he said that, as soon as I testify, then we'll meet up. Yeah. Because Joe's
defense is that I've met him in person, and we did this and we did that.

Paul Malagerio (08:19):
And you never met him?

James Garretson (08:20):
I've never met him. I mean, I've met Carole at a meeting, and that was brought up too today, the Fish
and Game meeting in Florida. But that was brought up.

Paul Malagerio (08:30):
Hold up, did you meet her hand to hand, face to face?

James Garretson (08:32):
No, no, no. She was in the same room. And then-


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Paul Malagerio (08:35):
Right, so you didn't meet her?

James Garretson (08:37):
No, I didn't meet her. No.

Paul Malagerio (08:39):
Okay.

James Garretson (08:41):
And I was in the room and then, Ken Holmes was my old Fish and Game officer, he politely said, "Well,
that's Garretson over there." And he said that Garretson's kind of a loose screw. And then she got out of
there. That's how I was back then.

Paul Malagerio (09:03):
What's that?

James Garretson (09:06):
I mean, I was. I was a loose screw. I wasn't as crazy as Jeff Johnson. I picked my...I didn't change sides. I
just hated the fucking USDA. That's it. I didn't hate anybody else with the fucking USDA, because I didn't
appreciate how they were fucking active towards me. They'd bring a god damn fucking SWAT team and
shit to inspect me. I mean, fucking roof snipers across the street and everything.

Paul Malagerio (09:31):
Holy shit.

James Garretson (09:31):
Yeah. Because I told him I was going to take the tigers to Washington when they took my permit. Oh,
and I cleared that up today. I cleared that up today, too, because she was like, "When did you lose your
license?" I said, "Well, first of all, I've never lost a license because I never had one." She said, "Oh." And
then she read the case and she said, "Oh, you're right."

James Garretson (09:54):
[crosstalk 00:09:54]

James Garretson (09:54):
I've never lost a license. I never had one. I let the bitches get them.

Paul Malagerio (10:01):
Okay. So what happened if you applied for one? You can't because it's-

James Garretson (10:05):




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No because I participated in another license that broke their animal welfare act. Yeah. No, they wouldn't
license me. No. Hell no.

Paul Malagerio (10:14):
Okay so I think I read that. So was there any problem, you living at a place like in Ringling? [inaudible
00:10:20] you for that.

Paul Malagerio (10:21):
Hello? Hello?

James Garretson (10:23):
I'm here. You don't have to say hello. I'm here.

Paul Malagerio (10:26):
No, I just hear beeping.

James Garretson (10:27):
Oh. No. I mean, look, you've seen me, I had a license for last three years. I didn't go hide.

Paul Malagerio (10:37):
So did that court...Was that statement they made wrong that none of your employees or friends or staff,
or you couldn't be associated with one? Is any of that correct?

James Garretson (10:45):
I can't circumvent the law by working under a license. I can do the normal duties, but I can't, that's as far
as I can go. I can clean. I can do inspections. I'm technically not allowed to exhibit.

Paul Malagerio (11:06):
That's kind of vague.

James Garretson (11:07):
Yeah.

Paul Malagerio (11:09):
Okay. So after this, is USDA going to be a problem for you, regardless of what you do?

James Garretson (11:15):
For me?

Paul Malagerio (11:16):
Yeah.

James Garretson (11:16):


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They haven't bothered me since 2006.

Paul Malagerio (11:20):
Okay.

James Garretson (11:20):
I've worked for people in the meantime, too.

Paul Malagerio (11:23):
Yeah. Okay.

James Garretson (11:26):
Actually, I took the Hawthorn elephants out after my license was revoked. I'm good.

Paul Malagerio (11:33):
The license you never had.

James Garretson (11:35):
Yeah. Other people's license. I'm good. I mean, who cares? I don't even need their license. If they got
stupid anyway, who cares? I'll open without it.

Paul Malagerio (11:46):
I totally agree with you.

James Garretson (11:48):
I know the ramifications of it. Nothing. It's civil.

Paul Malagerio (11:51):
Yep. Yep. They're fucking impotent. So for 10 weeks we make ourselves money and, what, they give you
a fine to whoever and you don't pay it anyways.

James Garretson (12:00):
I owe them 50 grand and I had the money to pay it several times and I didn't. And I told them I'm not
going to pay it. I went to court and even told them, "You can fine me 10 million. I'm not going to give
you any money."

Paul Malagerio (12:20):
So they've never tried to collect it?

James Garretson (12:22):
Well, they tried. All they can hold is my tax returns, by law.

Paul Malagerio (12:30):


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Wow.

James Garretson (12:31):
Yeah. That's all they got. That's all they can do. It's civil. It's like a parking ticket.

Paul Malagerio (12:38):
Yeah. Well-

James Garretson (12:42):
And they're the last ones I'm worried about. Because if I got to start my shit back up with them, I will.
You've seen them inspect us. They don't care. They're like, "Let's keep him keep nice and calm. Let's not
get him back to the old James where he is violent and screams, yells at people."

Paul Malagerio (13:03):
So in April we hang a shingle, we get started.

James Garretson (13:05):
Yeah. And then if we don't want to have a license and they bother us, we'll just tell them, "Here's what
we do. We're a private club now. Everybody that comes in is a member and they're not the public.
We're done."

Paul Malagerio (13:23):
And by the time they do that, we'll be a week away from stopping it for six months anyway.

James Garretson (13:27):
Yeah. And we'll be sanctuary and get all the money in the mailbox.

Paul Malagerio (13:31):
Yeah. You know what, I fucking really like the idea. Keep that between you and I.

James Garretson (13:37):
Yeah.

Paul Malagerio (13:37):
Nobody needs to know. [inaudible 00:13:39]

James Garretson (13:39):
Yeah. Just be a sanctuary, be a sanctuary like everybody else to get some money.

Paul Malagerio (13:45):
Are you going to send in that Fish and Game thing so there's no problem with the native species on the
property?



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James Garretson (13:50):
Yeah. I'm going to send that in Monday. I got it all planned out.

Paul Malagerio (13:55):
Make a copy of that, so when I travel, I have to have that with me.

James Garretson (13:59):
I will. It'll be legal.

Paul Malagerio (14:02):
Good.

James Garretson (14:04):
We'll do everything right by the law. Except the whorehouse on the property. Or the casino out back.
But everything else will be legal.

Paul Malagerio (14:20):
Okay. I can tell you're part native. You're probably like that politician, 1000 to 24.

James Garretson (14:26):
I am. My mother, her mother is half Blackfoot.

Paul Malagerio (14:33):
There you go.

James Garretson (14:34):
So somewhere I got some Indian in me.

Paul Malagerio (14:37):
I got the same thing-

James Garretson (14:38):
...Casino and brothel and everything.

Paul Malagerio (14:40):
My French Canadian mom, her grandmother was Ojibwa.

James Garretson (14:44):
Justin, are you Indian? You got any Indian in you? We'll dress him up with feathers and stuff.

Paul Malagerio (14:52):
Well name all the cats after Indian chiefs.



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James Garretson (14:56):
Yeah. We'll have him go in there with the big old head piece on and the moccasins, Daniel Boone knife
on the side and the bow and arrow. Yeah. I'm not worried about USDA amendment people.

Paul Malagerio (15:06):
Good.

James Garretson (15:09):
I battled them, they never bothered me after I battled them. They were scared of me.

Paul Malagerio (15:13):
So are you feeling relieved after today's meeting that it is what it is?

James Garretson (15:18):
I really don't want to go to court, but yeah, once that's done, it's done. I'll go ring that bell, done. Never
have to look at Joe again.

Paul Malagerio (15:28):
Now there's nothing they can say or ask you in court, that's going to bother you or hurt you. They
can't...Your past is pretty well public knowledge.

James Garretson (15:35):
Yeah. See, the beauty of my past is it's all public knowledge. That's a good thing about it. So, anything
they bring up is nothing new.

Paul Malagerio (15:42):
Yep. Yep. Good.

James Garretson (15:47):
All right, well hey, I'm going to call you first thing tomorrow. We're eating a cheap Chinese buffet.

Paul Malagerio (15:50):
Yeah, no problem.

James Garretson (15:52):
I'm going to go lie down but I'll call you tomorrow, we'll work it all out.

Paul Malagerio (15:55):
Have a good night.

James Garretson (15:55):
Bye bye.



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Paul Malagerio (15:57):
Bye.




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